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CADES SCHUTTE
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Attorneys for Plaintiffs

ATOOI ALOHA, LLC

CRAIG B. STANLEY, as Trustee for

THE EDMON KELLER AND CLEAVETTE
MAE STANLEY FAMILY TRUST;

CRAIG B. STANLEY, Individually; and
MILLICENT ANDRADE, Individually
Case 1:16-cv-00347-JMS-RLP Document 129 Filed 09/05/17 Page 2 of 5

PagelD #: 863

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

ATOOI ALOHA, LLC, an Nevada
Limited Liability Company; CRAIG B.
STANLEY, as Trustee for THE
EDMON KELLER AND CLEAVETTE
MAE STANLEY FAMILY TRUST;
CRAIG B. STANLEY, individually;
MILLICENT ANDRADE, individually,

Plaintiffs,

Vv.

ABNER GAURINO; AURORA
GAURINO; ABIGAIL GAURINO;
INVESTORS FUNDING
CORPORATION, as Trustee for an
unrecorded Loan Participation
Agreement dated June 30, 2014; APT-
320, LLC, a Hawaii Limited Liability
Company; CRISTETA C. OWAN, an
individual; ROMMEL GUZMAN;
FIDELITY NATIONAL TITLE &
ESCROW OF HAWAII and DOES 1-
100 Inclusive.,

Defendants.

 

 

CIVIL NO. 16-00347 JMS RLP
CERTIFICATE OF SERVICE

[Re: Amended Notices of Taking
Deposition Upon Oral Examination
of:

(1) Abner Gaurino;

(2) Aurora Gaurino; and

(3) Abigail Gaurino]

CERTIFICATE OF SERVICE

The undersigned hereby certifies that true and correct copies of: (1)

Amended Notice of Taking Deposition Upon Oral Examination of Abner Gaurino;

(2) Amended Notice of Taking Deposition Upon Oral Examination of Aurora

-2-
* Case 1:16-cv-00347-JMS-RLP Document 129 Filed 09/05/17 Page3of5 PagelD#: 864

Gaurino; and (3) Amended Notice of Taking Deposition Upon Oral Examination
of Abigail Gaurino were duly served upon the following parties as indicated below
on September 5, 2017:

By U.S. Mail

JOHN R. REMIS, JR., ESQ.
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And

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and ABIGAIL GAURINO

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Case 1:16-cv-00347-JMS-RLP Document 129 Filed 09/05/17 Page4of5 PagelD#: 865

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CRISTETA C. OWAN
Case 1:16-cv-00347-JMS-RLP Document 129 Filed 09/05/17 Page5of5 PagelD #: 866

DATED: Honolulu, Hawai‘i, September 5, 2017.

CADES SCHUTTE
A Limited Liability Law Partnership

/s/ Dennis W. Chong Kee
DENNIS W. CHONG KEE
W. KEONI SHULTZ
CHRISTOPHER T. GOODIN

 

and

LAWRENCE C. ECOFF, Pro Hac Vice
ALBERTO J. CAMPAIN, Pro Hac Vice
GINNI G. KIM, Pro Hac Vice

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ATOOI ALOHA, LLC, CRAIG B.
STANLEY, as Trustee for THE EDMON
KELLER AND CLEAVETTE MAE
STANLEY FAMILY TRUST; CRAIG B.
STANLEY, Individually; and MILLICENT
ANDRADE, Individually
